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Attorneys for Plaintiff
STRATEGIC OPERATIONS, INC.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

STRATEGIC OPERATIONS, INC., Case No. 17-CV-01539-JLS (NLS)
a California Corporation,
STIPULATION OF DISMISSAL

Plaintiff,
Vv.

BREA K. JOSEPH, an Individual;

KASEY EROKHIN, an Individual;

KBZ FX, INC., a California Corporation; and
DOES 1-10, inclusive,

Defendants.

 

 

 

STIPULATION OF DISMISSAL
Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is stipulated and agreed that
the above-captioned action is dismissed with prejudice. It is further stipulated and agreed that each

party will bear its own costs, expenses, and attorney’s fees.

-l- STIPULATION OF DISMISSAL

 
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Case 3:17-cv-01539-JLS-WVG

Dated: November 18, 2019

Dated: November 18, 2019

SO ORDERED this __ day of , 2019.

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TROUTMAN SANDERS LLP

By: /s/ Charanjit Brahma
Charanjit Brahma
Attorneys for Plaintiff
STRATEGIC OPERATIONS, INC.

SAN DIEGO IP LAW GROUP

By: /s/ Cody R. LeJeune
Cody R. LeJeune
Attorneys for Defendants
KBZ FX, INC., BREA JOSEPH, KASEY

EROKHIN

 

UNITED STATES DISTRICT JUDGE

 
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CERTIFICATE OF SERVICE

I, Ryan A. Lewis, declare:

I am a citizen of the United States and employed in San Francisco, California. I am over
the age of 18 and not a party to the within action; my business address is Three Embarcadero
Center, Suite 800, San Francisco, CA 94111.

I hereby certify that on November 18, 2019, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all

registered CM/ECF participants in this case.

I declare that I am employed in the office of a member of the bar of this court at whose

direction the service was made. Executed on November 18, 2019, at San Francisco, CA.

/s/ Ryan A. Lewis
Ryan A. Lewis

 

 
